                Case 23-17265-SLM                         Doc 1        Filed 08/22/23 Entered 08/22/23 16:14:58                            Desc Main
                                                                       Document Page 1 of 9
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  District of New Jersey


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Linden Auto Spa, LLC



    2. All other names debtor used                Linden Express Wash
       in the last 8 years
                                                  1066 East Elizabeth Avenue, LLC
     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   4      7 – 4    4   8    7   3    9   7
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business



                                                   1066 East Elizabeth Avenue
                                                   Number          Street                                      Number        Street

                                                   Elizabeth, NJ 07208
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Union                                                       place of business
                                                   County




                                                                                                               Number        Street


                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
               Case 23-17265-SLM                    Doc 1           Filed 08/22/23 Entered 08/22/23 16:14:58                               Desc Main
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Debtor      Linden Auto Spa, LLC                                                                             Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                         MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor        Linden Auto Spa, LLC                                                                       Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets
                                       ✔ $0-$50,000
                                       ❑                                     ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




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                 Case 23-17265-SLM                 Doc 1          Filed 08/22/23 Entered 08/22/23 16:14:58                                 Desc Main
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Debtor        Linden Auto Spa, LLC                                                                             Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                         ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     08/21/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Andrew A. Montoya                                              Printed name
                                                                                                                                     Andrew A. Montoya
                                                   Signature of authorized representative of debtor


                                                   Title                    Managing Member



         18. Signature of attorney
                                               ✘                       /s/ Justin M Gillman                         Date      08/21/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    Justin M Gillman
                                                   Printed name

                                                    Gillman, Bruton & Capone, LLC
                                                   Firm name

                                                    770 Amboy Avenue
                                                   Number          Street


                                                    Edison                                                             NJ              08837
                                                   City                                                               State            ZIP Code



                                                                                                                        jgillman@gbclawgroup.com
                                                   Contact phone                                                       Email address



                                                    038891997                                                           NJ
                                                   Bar number                                                          State




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                                                                    Document Page 5 of 9
 Fill in this information to identify the case:

 Debtor name                              Linden Auto Spa, LLC

 United States Bankruptcy Court for the:
                                   District of New Jersey


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Fox Capital Group, Inc.                                                                                                                                      $11,900.00
      803 S 21st Ave,
      Hollywood, FL 33020


2     Internal Revenue Service (IRS)                                                                                                                               $30,984.82
      Department of Treasury
      Po Box 7346
      Philadelphia, PA 19101-7346

3     New Jersey E-ZPass                                                                                                                                             $600.00
      Credit Collection Services
      PO Box 55126
      Boston, MA 02205

4     Samson MCA, LLC                                                                                                                                              $71,500.00
      17 State Street Suite 630
      New York, NY 10004


5     State of NJ- Division of Taxation                                                                                                                           $100,000.00
      PO Box 245
      Trenton, NJ 08695


6     The Mint National Bank                                                                                                                                  $1,277,447.00
      1213 Kingwood Drive
      Kingwood, TX 77339


7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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                                                                Document Page 6 of 9
Debtor       Linden Auto Spa, LLC                                                                             Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF NEW JERSEY
                                                             NEWARK DIVISION

IN RE: Linden Auto Spa, LLC                                                           CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      08/21/2023            Signature                              /s/ Andrew A. Montoya
                                                                 Andrew A. Montoya, Managing Member
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                              Fox Capital Group, Inc.
                              803 S 21st Ave,
                              Hollywood, FL 33020




                              Internal Revenue Service
                              (IRS)
                              Department of Treasury
                              Po Box 7346
                              Philadelphia, PA 19101-7346


                              New Jersey E-ZPass
                              Credit Collection Services
                              PO Box 55126
                              Boston, MA 02205



                              Samson MCA, LLC
                              17 State Street Suite 630
                              New York, NY 10004




                              Starfield & Smith, P.C.
                              1300 Virginia Drive Ste. 325
                              Fort Washington, PA 19034




                              State of NJ- Division of
                              Taxation
                              PO Box 245
                              Trenton, NJ 08695



                              The Mint National Bank
                              1213 Kingwood Drive
                              Kingwood, TX 77339




                              Union County Sheriff
                              10 Elizabethtown Plaza First Floor
                              Elizabeth, NJ 07207
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                                                   United States Bankruptcy Court
                                                            District of New Jersey

In re   Linden Auto Spa, LLC                                                                       Case No.
                                                                          Debtor(s)                Chapter                     11



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for                Linden Auto Spa, LLC                 in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔ None [Check if applicable]
❑


             08/21/2023                                             /s/ Justin M Gillman
Date                                              Justin M Gillman
                                                  Signature of Attorney or Litigant
                                                  Counsel for         Linden Auto Spa, LLC
                                                  Bar Number: 038891997
                                                  Gillman, Bruton & Capone, LLC
                                                  770 Amboy Avenue
                                                  Edison, NJ 08837
                                                  Phone: (732) 661-1664
                                                  Fax: (732) 661-1707
                                                  Email: jgillman@gbclawgroup.com




                                                                          1
